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                      UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                            JACKSON DIVISION


BARRY W. GILMER                                                      PLAINTIFF


VS.                                   CIVIL ACTION NO. 3:08cv136TSL-JCS


TOBY TROWBRIDGE, JR., INDIVIDUALLY,
AND IN HIS OFFICIAL CAPACITY AS
SHERIFF OF MADISON COUNTY, MISSISSIPPI;
SCOTT GRAVES, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITY AS DEPUTY SHERIFF OF
MADISON COUNTY, MISSISSIPPI; MADISON
COUNTY, MISSISSIPPI; WESTERN SURETY
COMPANY; AND JOHN DOES 1 THROUGH 10                                DEFENDANTS



                      MEMORANDUM OPINION AND ORDER

      Defendants Madison County, Toby Trowbridge, in his official

capacity as Sheriff of Madison County, and Western Surety Company,

have moved for summary judgment on plaintiff’s claims,1 and

defendant Scott Graves, in his individual capacity, has moved for

summary judgment on plaintiff’s state law claims against him.2

These motions have been fully briefed, and the court, having



      1
          This court has previously granted summary judgment in
favor of Sheriff Trowbridge on plaintiff’s claims against him in
his individual capacity. See Gilmer v. Trowbridge, Civ. Action
No. 3:08CV136TSL-JCS, 2009 WL 649692 (S.D. Miss. Mar. 10, 2009).
Plaintiff’s remaining official capacity claims against Trowbridge
are in substance against Madison County. See Kentucky v. Graham,
473 U.S. 159, 166, 105 S. Ct. 3099, 87 L. Ed. 2d 114 (1985)
(explaining that a suit against a government official in his or
her official capacity is a suit against the entity that the
individual represents).
      2
          The court has previously granted in part and denied in
part Deputy Graves’s motion for summary judgment on plaintiff’s
federal claims against him in his individual capacity. See
Gilmer, 2009 WL 649692.
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considered the memoranda of authorities, together with

attachments, submitted by the parties, concludes that defendants’

motions are well taken and should be granted.

     There is no vicarious liability under § 1983, and so, to hold

a governmental entity liable under § 1983 for the misconduct of an

employee, “a plaintiff must show, in addition to a constitutional

violation, that an official policy promulgated by the

municipality's policymaker was the moving force behind, or actual

cause of, the constitutional injury.        The official policy itself

must be unconstitutional or, if not, must have been adopted ‘with

deliberate indifference to the known or obvious fact that such

constitutional violations would result.’”         James v. Harris County,

577 F.3d 612, 617 (5th Cir. 2009) (citations omitted).            As the

court recognized in James,

     Official policy can arise in various forms. It usually
     exists in the form of written policy statements,
     ordinances, or regulations, but may also arise in the
     form of a widespread practice that is “so common and
     well-settled as to constitute a custom that fairly
     represents municipal policy.” A policy is official only
     “when it results from the decision or acquiescence of
     the municipal officer or body with ‘final policymaking
     authority’ over the subject matter of the offending
     policy.”

Id. (citations omitted).      “Sheriffs in Mississippi are final

policymakers with respect to all law enforcement decisions made

within their counties.”      Brooks v. George County, Miss., 84 F.3d

157, 165 (5th Cir. 1996).

     Plaintiff submits that he has presented sufficient evidence

to create a genuine issue of material fact as to the existence of

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an official policy, practice or custom, based on proof tending to

show what he contends is a widespread practice of “fabricating

false charges of disorderly conduct, resisting arrest, disobeying

a law enforcement officer, disturbing the peace and other felonies

or misdemeanors when the arresting deputy desires to charge a

person but has no legal basis for any charge.”           However, the only

alleged facts upon which he relies in support of his position are

that he was himself allegedly unlawfully arrested on two separate

occasions by Deputy Graves (which arrests are the subject of his

complaint herein), and that a year after plaintiff’s arrests,

Deputy Graves allegedly unlawfully arrested another individual,

one William Barnett, on a fabricated charge of disorderly conduct.

Plaintiff argues that these incidents “represent a sample of

widespread abuse perpetrated by the Sheriff’s Department in false

claims filed against citizens.”       However, this court has

previously held in this case that the fact that plaintiff was

arrested by Deputy Graves on April 14, 2006 and April 15, 2006

does not establish that widespread abuse existed within the

Madison County Sheriff’s Department, exhibiting a deliberate

indifference to plaintiff’s constitutional rights.3            The court


     3
          In its opinion granting summary judgment for Sheriff
Trowbridge in his individual capacity, the court wrote:
     In response to Sheriff Trowbridge’s motion, plaintiff
     has argued that this court should view plaintiff’s April
     14 and April 15 arrests as two separate occasions of
     abuse by Deputy Graves; but even were the court to do
     this, that still would not demonstrate that widespread
     abuse existed within the Madison County Sheriff’s
     Department. See Hinshaw, 785 F.2d at 1264 (where an

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further concluded that Barnett’s alleged unlawful arrest by Deputy

Graves after plaintiff’s arrests did not establish widespread

abuse or deliberate indifference.4          Accordingly, the court

concludes that plaintiff has failed to create a genuine issue of

material fact as to the existence of an official policy, custom or

practice of making unlawful arrests.

     Plaintiff’s further putative claim against Madison County and

Sheriff Trowbridge in his official capacity for unlawful search

likewise fails.    Plaintiff notes that Deputy Graves testified that

on the occasion of the incidents at issue in this case, he drove

onto the Gilmer property to talk to Matt Gilmer because of a

complaint that Matt Gilmer was playing loud music.              Graves further

testified, “We talk to complainants all the time about loud music,

so I went to speak with him.”       Plaintiff argues that “Trowbridge's

policy of allowing his deputies to enter upon property and speak

with individuals accused of playing loud music exhibited



     officer had been investigated on three separate
     occasions concerning his use of force, that did not
     qualify as “widespread abuse” sufficient to put the
     supervisor on notice that the officer “had a tendency to
     use excessive force”). Moreover, as defendant correctly
     notes, plaintiff has in any event produced no evidence
     that Sheriff Trowbridge even knew about plaintiff’s
     second arrest or the circumstances surrounding that
     arrest.
Gilmer, 2009 WL 649692, at 9.
     4
          The court wrote that “an alleged unlawful arrest by
Deputy Graves a year after the events at issue here [is not]
relevant to whether Sheriff Trowbridge was on notice that a
failure to train or supervise Deputy Graves might result in
violation of plaintiff’s constitutional rights.” Gilmer, 2009 WL
649692, at 10.

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widespread abuse of citizens' rights to not be subjected to

unlawful searches.”     However, this court previously held that

Sheriff Trowbridge’s “policy” of “allowing his deputies to speak

with persons against whom noise/disturbing the peace complaints

have been made does not evidence deliberate indifference to

anyone’s constitutional rights.”         Gilmer, 2009 WL 649692, at 9.

Sheriff Trowbridge in his official capacity, and Madison County,

are thus entitled to summary judgment as to plaintiff’s putative

§ 1983 claim for violation of his Fourth Amendment right to be

free from unlawful search and seizure.         Moreover, since Western

Surety’s liability on its bond depends on a finding that Sheriff

Trowbridge is liable to plaintiff, it, too, is entitled to summary

judgment.

     Madison County has moved for summary judgment on plaintiff’s

claim against it for false arrest, and that motion will be

granted, as well.     The Mississippi Tort Claims Act (MTCA), Miss.

Code Ann. § 11-46-1, et seq., is the exclusive civil remedy

against a governmental entity or its employees for acts or

omissions which give rise to a suit.         Under the MTCA, a

governmental entity can only be held liable for the torts of its

employees committed in the “course and scope” of their employment,

see Miss. Code Ann. § 11-46-7(2) ("[N]o employee shall be held

personally liable for acts or omissions occurring within the

course and scope of the employee's duties."), which the Act

expressly defines to exclude an employee’s conduct that



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constitutes “malice,” see Miss. Code Ann. § 11-46-5(2) (providing

that an employee of a governmental entity “shall not be considered

as acting within the course and scope of his employment and a

governmental entity shall not be liable or be considered to have

waived immunity for any conduct of its employee if the employee's

conduct constituted fraud, malice, libel, slander, defamation or

any criminal offense”).      Madison County argues that since under

Mississippi law, false arrest is an intentional tort that requires

a showing that a person has been arrested “falsely, unlawfully,

maliciously and without probable cause,” see City of Mound Bayou

v. Johnson, 562 So. 2d 1212, 1218 (Miss. 1990), and indeed, since

plaintiff has clearly alleged that Deputy Graves acted with malice

while arresting him on the dates in question, then it follows that

Madison County cannot be held liable for plaintiff’s alleged false

arrest.   In response to Madison County’s motion on this claim,

plaintiff acknowledges that Madison County cannot be held liable

for acts of malice by Deputy Graves under § 11-46-5(2).

Therefore, summary judgment will be granted on this claim.5                 See

Robinson v. Hosemann, 918 So. 2d 668, 670-71 (Miss. 2005)

(allegation that defendants acted “willfully, maliciously, and in


     5
          The court acknowledges plaintiff’s argument that,
notwithstanding that Graves’ alleged conduct was malicious and
therefore outside the course and scope of his employment,
plaintiff still may pursue a claim against the County for false
arrest based on Sheriff Trowbridge’s “awareness and promotion of
constitutional abuses.” The court has already concluded that
plaintiff has failed to present sufficient evidence to establish
that Sheriff Trowbridge was aware of, much less condoned or
promoted unlawful arrests by his deputies.

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reckless disregard to the right of the Plaintiff not to be falsely

arrested and imprisoned” asserted conduct outside MTCA).

     Defendant Graves has moved for summary judgment on

plaintiff’s state law causes of action for false arrest, false

imprisonment, assault and battery and intentional infliction of

emotional distress on the basis that these claims are barred by

the one-year statute of limitations under Mississippi Code

Annotated § 15-1-35.     See Miss. Code Ann. § 15-1-35 (“All actions

for assault, assault and battery, maiming, false imprisonment,

malicious arrest, or menace, and all actions for slanderous words

concerning the person or title, for failure to employ, and for

libels, shall be commenced within one (1) year next after the

cause of such action accrued, and not after.”);              CitiFinancial

Mortgage Co., Inc. v. Washington, 967 So. 2d 16, 19 (Miss. 2007)

(a “claim for intentional infliction of emotional distress is

subject to a one-year statute of limitations under Mississippi

Code Annotated Section 15-1-35 (Rev. 2003)”).           Graves argues that

since each of these causes of action accrued on April 14-15, 2006,

and since plaintiff did not file suit until November 9, 2007, well

over a year later, then these claims are time-barred and should be

dismissed with prejudice.      See Brooks v. Pennington, 995 So. 2d

733, 737-38 (Miss. Ct. App. 2007) (a “complaint for false arrest

and false imprisonment accrue[s] on the date of arrest”) (quoting

Parker v. Mississippi Game & Fish Comm'n, 555 So. 2d 725, 727

(Miss. 1989)); Woods v. Carroll County, No. Civ. Action No.



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4:07CV94-SA-DAS, 2008 WL 4191738, 3 (N.D. Miss. 2008) (state law

tort of assault and battery accrues on the date of the subject

incident)(citing City of Mound Bayou v. Johnson, 562 So. 2d 1212,

1217 (Miss. 1990).

     Plaintiff’s charge of intentional infliction of emotional

distress is based on his allegation that defendants “knew or

should have known that the wrongful arrest and detention of the

Plaintiff would cause severe emotional distress to the Plaintiff.”

The one-year statute of limitations began to run on the date of

the allegedly “intentional act which [plaintiff] claim[s] forms

the basis of this action,” i.e., the alleged wrongful arrest and

detention of Barry Gilmer.      CitiFinancial, 967 So. 2d at 19.

     In response to Graves’ motion, plaintiff argues that the

statute of limitations applicable to his claims is not the one-

year statute of limitations in § 15-1-35 but rather is the statute

of limitations in the MTCA, specifically Mississippi Code

Annotated § 11-46-11(3), which establishes a one-year limitations

period, but also provides for tolling of that period for the

purpose of the claimant’s filing a mandatory notice of claim with

the governmental entity.6      Plaintiff evidently takes the position


     6
          The statute provides,
     All actions brought under the provisions of this chapter
     shall be commenced within one (1) year next after the
     date of the tortious wrongful or otherwise actionable
     conduct on which the liability phase of the action is
     based, and not after; provided, however, that the filing
     of a notice of claim ... shall serve to toll the statute
     of limitations for a period of ninety-five (95) days....
     The limitations period provided herein shall control and

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that his notice of claim letter required under the Mississippi

Tort Claims Act tolled the statute of limitations for purposes of

his claims herein.     However, this argument is without merit.             See

Sowers v. Darby, No. 2:07CV11-SA-SAA, 2009 WL 742730 (N.D. Miss.

March 17, 2009) (rejecting argument that plaintiff’s notice of

claim letter required under MTCA tolls the statute of limitations

for intentional torts) (citing Herman v. City of Shannon, 296 F.

Supp. 2d 709, 715 n.9 (N.D. Miss. 2003) (even if plaintiff could

have alleged misconduct was outside the officer's scope of

employment, intentional torts would still be subject to one-year

statute of limitations period found in Mississippi Code Section

15-1-35); Lee v. Thompson, 859 So. 2d 981, 985-86 (Miss. 2002)

(allegations that officers acted intentionally or with reckless

disregard caused the claims to fall outside the MTCA and thus,

subject to the statute of limitations found in Mississippi Code

Section 15-1-35).

     As Deputy Graves correctly argues, if he was acting in the

course and scope of his employment, then he is entitled to the

limitations, protections and immunities under the MTCA in his



     shall be exclusive in all actions subject to and brought
     under the provisions of this chapter, notwithstanding
     the nature of the claim, the label or other
     characterization the claimant may use to describe it, or
     the provisions of any other statute of limitations which
     would otherwise govern the type of claim or legal theory
     if it were not subject to or brought under the
     provisions of this chapter.
Miss. Code Ann. § 11-46-11(3).



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individual capacity and is immune from liability on all state law

claims.    See Mozingo v. Scharf, 828 So. 2d 1246, 1250 (Miss. 2002)

(holding that if an individual is deemed to be state employee,

then “immunity attaches” and that individual “is shielded from

liability”).    If, however, he was acting outside the course and

scope of his employment during the times alleged by plaintiff,

then Deputy Graves would not be entitled to the immunity from

personal liability provided by the MTCA, but in that case, the

applicable statute of limitations for plaintiff’s claims for false

arrest, false imprisonment, assault and battery and intentional

infliction of emotional distress, would be § 15-1-35.              Thus,

whether or not the MTCA applies to these claims, they are due to

be dismissed.

      Deputy Graves next argues he should be granted summary

judgment on plaintiff’s claim for trespass since the areas on

which he allegedly trespassed were exposed to the general public

and thus were equally available to Deputy Graves, and because he

was in any event acting within the course and scope of his

employment in investigating neighbors’ complaints of excessive

noise on the Gilmer property.       As Graves notes, Mississippi

recognizes a trespasser as “one who enters upon another's property

‘without license, invitation, or other right, and intrudes for

some definite purpose of his own, or at his convenience, or merely

as an idler with no apparent purpose, other than, perhaps, to

satisfy his curiosity,’” Simcox v. Hunt, 874 So. 2d 1010, 1018-19



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(Miss. Ct. App. 2004) (quoting Saucier v. Biloxi Reg'l. Med. Ctr.,

708 So. 2d 1351, 1357 (Miss. 1998)), but it holds that “a claim of

police trespass cannot be made regarding areas that are typically

used by visitors”).      Mitchell v. State, 792 So. 2d 192, 206

(Miss. 2001).     In Mitchell, the court quoted at length from

Waldrop v. State, 544 So. 2d 834 (Miss. 1989), as follows:

           It is not objectionable for an officer to come
           up upon that part of the property which has
           “been open to the public common use.” The
           route which any visitor to a residence would
           use is not private in the Fourth Amendment
           sense, and thus if police take that route “for
           the purpose of making a general inquiry” or
           for some other legitimate reason, they are
           free “to keep their eyes open ...”
      1 W. LaFave, Search and Seizure, § 2.3, at 318 (1978)).
      This Court continued quoting LaFave by stating:
           Thus, when the police come on to private
           property to conduct an investigation or for
           some other legitimate purpose and restrict
           their movements to places visitors could be
           expected to go (e.g., walkways, driveways,
           porches), observations made from such vantage
           points are not covered by the Fourth
           Amendment.
      Id. The United States Supreme Court has also said that
      if property is exposed to the general public, then it is
      also equally available to the police. California v.
      Rooney, 483 U.S. 307, 324, 107 S. Ct. 2852, 97 L. Ed. 2d
      258 (1987).

Mitchell, 792 So. 2d at 206 (quoting Waldrop, 544 So. 2d at 838).

There is no question but that on April 15, Deputy Graves entered

only onto those portions of the Gilmer property that were “open to

the public common use” in response to a neighbor’s noise

complaint.    Plaintiff maintains, however, that the portion of the

property onto which Deputy Graves traveled on April 14 was not

likewise “open to the public common use” or was an area where

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visitors could be expected to go (e.g., walkways, driveways,

porches).    However, it is clear from the record evidence that his

entering onto the property in both instances occurred in the

course and scope of his employment, and he is therefore immune

from personal liability under the Tort Claims Act.             Accordingly,

summary judgment is in order on this claim.

      Deputy Graves has finally moved for summary judgment on

plaintiff’s claims for malicious prosecution and abuse of process,

contending that plaintiff cannot satisfy the elements of these

causes of action.     In the court’s opinion, however, there are

genuine issues of material fact which preclude summary judgment on

these claims.

      Based on the foregoing it is ordered that the motion of

Madison County, Sheriff Trowbridge in his official capacity, and

Western Surety Company for summary judgment is granted.              It is

further ordered that the motion of defendant Graves is granted in

part and denied in part, as set forth herein.

      SO ORDERED this 23rd day of November, 2009.



                                          /s/ Tom S. Lee
                                          UNITED STATES DISTRICT JUDGE




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